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                                                                                .FILED IN OPEN COURT
                                                                                ON    I lz.1..-l / 1[ ~
                                                                      Pete~ A. .Moore, Jr.p Clerk
                                  UNITED STATES DISTRICT COURT        M:s~~~r5fs~urt                   .
                           FOR THE EASTERN DISTRI.CT OF NORTH CAROLINA            rrctof NC
                                        EASTERN DIVISION

            UNITED STATES OF AMERICA                   )
                                                       )
                        v.                             )          SUPERSEDING INDICTMENT
                                                       )
            CALVIN MARK WILSON                        ·)    NO. 4:17-CR-00053-B0-1
               a/k/a "Bali"                            )
            MARIO CORRELLUS BARGNEARE                  )    NO. 4:17-CR-00053-B0-2
               a/k/a "Rio"                             )
            WILLIE FRANK JAMES AHERN                   )    NO. 4:17-CR-00053-B0-3
               a/k/a "White," "White                   )
               Bread," "Dribs"                         )
            DEREK JACQUAN WIGGINS                      )    NO. 4:17-CR-00053-B0-4
               a/k/a "DJ"                              )
            ROY JAMES.NOLON                            )    NO. 4:17-CR-00053-B0-5
               a/k/a "Henny"                           )
            MICHAEL QUALEEK VELASQUEZ,                 )    NO.   4:17-CR-00053-BO-~
               a/k/a "Moo Moo"                         )
            LAMAR HOSEA WIGGINS                        )    NO.   4:17-CR-00053-B0~7
               a/k/a "LB"                              )
            LASHAWNNA JAQUETTE MCCOTTER,               )    NO. 4:17-CR-00053-B0-8
               a/k/a "Flossy"                          )
            LATREKA DENISE HARDESTY                    )    NO. 4:17-CR-00053-B0-9
               a/k/a "T"                               )



                The Grand Jury charges that:

                                               COUNT ONE

                Beginning at a date unknown to the Grand Jury, but no later

           than in or around April 2015,              and continuing until on or about

           October 24,       2017,    in the Eastern District of North Carolina and

           elsewhere,      the   defendants,    CALVIN MARK WILSON,             also    known   as

           "Bali," MARIO CORRELLUS BARGNEARE,                   also known as    "Rio," WILLIE

          - "FRANK JAMES     AHERN,    also   known        as   "White,"   "White    Bread,"    and

           "Dribs,"   DEREK JACQUAN WIGGINS,                also known as     "DJ,"    ROY JAMES


                                                       1

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NOLON, also known as "Henny," MICHAEL QUALEEK VELASQUEZ, also known

as "Moo Moo," LAMAR HOSEA WIGGINS, also known as "LB," LASHAWNNA

JAQUETTE MCCOTTER,              also knciwn as            "Flossy,"        and LATREKA DENISE

HARDESTY,          also    known       as    "T,"   did    knowingly        and    intentionally

combine, conspire, confederate and agree with each other and with

other persons, known and unknown to the Grand Jury, to distribute

and possess with the intent to distribute marijuana and a                                  ~ixture

and. substance            containing         a   detectable       amount     of    heroin,    both

Schedul.e I controlled substances, in violation of Title 21, United

States Code, Section 841 (a) (1).

     Quantity of Controlled Substances Involved in the Conspiracy

          With respect to the defendants, CALVIN MARK WILSON, also known

as "Bali," and MARIO CORRELLUS BARGNEARE, also known as "Rio," the

amount involved in the conspiracy attributable to them as a result

of    their       own     conduct,         and   the    conduct       of   other    conspirators

reasonably foreseeable to themt is one hundred {100) grams or more

of    a    mixture        and   substance        containing       a    detectable        amount   of

heroin,       a    Sc.hedule      I    controlled       substance,         and a    quantity of

marijuana,         a   Schedule I controlled substance, in violation of Title

21, United States Code, Sections 841 (b) (1) (B) and 841 (b) (1) (C).

          With respect to the defendants,                    WILLIE FRANK JAMES AHERN,

also known as "White," "White Bread," and "Dribs," DEREK JACQUAN

WIGGINS,          also    known       as    "DJ,"   ROY    JAMES .· NOLON,        also    known· as

"Henny," MICHAEL QUALEEK VELASQUEZ, also known as "Moo Moo," LAMAR

                                                    2

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HOSEA WIGGINS,          also known as "LB," LASHAWNNA JAQUETTE MCCOTTER,

also known as "Flossy," and LATREKA DENISE HARDESTY, also known as

"T," the amount involved in the conspiracy attributable to them as

a     result     of· their      own    conduct,       and    the     conduct        of     other

conspirators       reasonably
                      .    I
                              foreseeable             to them,       is    a     quantity of

marijuana and a quantity of a· mixture and substance~· containing a

detectable        amount       of     heroin,       both    Schedule        I      controlled

substances, in violation of Title 21, United States Code, Section

841 (b) (1) (C).

       All in violation of Title 21,                  United States Code           I     Section

846.

                                        COUNT TWO

       Beginning at a date unknown to the Grand Jury, but no later

than in or around April 2015",              and continuing until the date ·of

Indictment,        in    the    Eastern     District        of     North        Carolina       and

elsewhere, the defendant, CALVIN MARK WILSON, also known as "Bali,"

did     unlawfully,        knowingly,      and       intentionally         engage         in     a

continuing criminal enterprise in that he unlawfully, knowingly,

and intentionally violated Title 21, United States Code, Sections

841 (a) ( 1) ,   843,    and 846,      which violations          include but are not

limited     to    the    substantive      violations        alleged        in     Count     One,

Narcotics Conspiracy; Counts Five through Eleven, Thirteen through

Fifteen, and Seventeen through Thirty, Distribution of Narcotics;

and    Counts     Three,    Four,      Sixteen,      Thirty-One,      and Thirty-Five,

                                                3

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Possession with Intent to Distribute Narc_otics, which Counts are

realleged and incorporated herein by reference as though fully set

forth in this Count, and which violations were part of a continuing

series of violations of the Controlled Substances Act, Title 21,

United States Code, Section 801, et seq., undertaken by defendant,

.CALVIN MARK WILSON, also known as "Bali," in concert with at least

five other persons with respect to whom CALVIN MARK WILSON, also

known as "Bali," occupied a position of organizer, supervisor, and

any position of management, and from which such continuing series

of   violations   the    defendant    obtained      substantial   income   and

resources.


      All in violation of Title 21,            United States Code,   Section

848 (a) .


                                  COUNT THREE

      On or about April 21, 2015, in the Eastern District of North

Carolina, the defendant, WILLIE FRANK JAMES AHERN, also· known as

"White, "    "White     Bread,"    and       "Dribs,"   did   knowingly    and

intentionally possess with the intent to distribute a. quantity of

a mixture and substance containing a detectable amount of heroin,

a Schedule I controlled substance, in violation of Title 21; United

States Code, Section 841 (a) (1).




                                         4

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                                             COUNT FOUR

               On or about June 20, 2016,         in the Eastern District of North

Carolina,           the defendant, .LATREKA DENISE HARDESTY,              also known as

"T,   11
           ·   aiding and abetting another person known to the Grand Jury,

did            knowingly    and   intentionally      possess    with   the   intent    to

distribute a               quantity of   a    mixture     and substance    containing a

detectable amount of heroin, a Schedule I controlled substance, in

violation of Title 21, United States Code, Section.84l(a) (1)                         and

Title 18, United States Code, Section 2.


                                         COUNT FIVE

               On or about October 3, 2016, in the Eastern District of North

Carolina, the defendant, ROY JAMES NOLON, also known as "Henny,"

did knowingly and intentionally distribute a quantity of a mi.xture

and substance containing a detectable amount of heroin, a Schedule

I   controlled substance,             in violation of Title 21,           United States

Code, Section 841 (a) (1).


                                             COUNT SIX

               On or about October 5, 2016, in the Eastern District of North

Carolina, the defendant, ROY JAMES NOLON, also known as "Henny,"

aiding and abetting apother person known to the Grand Jury,                           did

knowingly and intentionally distribute a quantity of a m'ixture and

substance containing a detectable amount of heroin, a Schedule I




                                                 5

               Case 4:17-cr-00053-BO Document 155 Filed 01/24/18 Page 5 of 21
controlled substance, in violation of Title 21, United States Code,

Section 84l(a) (1) and Title 18, United States Code, Section 2.


                                   COUNT SEVEN

      On or about November .23,         2016,    in the Eastern District of

North Carolina, the defendant, LATREKA DENISE HARDESTY, also known

. as "T," did knowingly and intentionally distribute a quantity of

a mixture and substance containing a detectable amount of heroin,

a Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).


                                   COUNT. EIGHT

      On or about November 28,          2016,    in the Eastern District of

North Carolina,        the defendant,    ROY JAMES NOLON,        also known as

 "Henny," did knowingly and intentionally distribute a quantity of

a mixture and substance containing a detectable amount of heroin,

a Schedule I     controlled.substance,          and fentanyl,    a    Schedule II

controlled substance, in violation of Title· 21, United States Code,

Section 841 (a) ( 1) .


                                    COUNT NINE

        On or about November 28,        2016,    in the Eastern District of

North Carolina,        the defendant,    MARIO. CORRELLUS BARGNEARE,         also

known    as   "Rio,"     did   knowingly ·and    intentionally       distribute   a

quantity of a mixture and substance containing a detectable amount



                                        6

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of heroin, a Schedule I controlled substance, in violation of Title

21, United States Code, Section 841(a) (1).


                                  COUNT TEN

     On or about.December 1, 2016, in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did/knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).


                                 COUNT ELEVEN

     On or about December 7, 2016, in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin', a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841(a) (1).


                                 COUNT TWELVE

     On or about December 14,         2016,    in the Eastern District of

North Carolina, the defendant, DEREK JACQUAN WIGGINS, also known

as   "DJ,"   having       been. convicted     of   a      crime    punishable   by

imprisonment   for    a    term exceeding one       (1)    year,    did knowingly

possess, in and affecting commerce,            a   firearm,       in violation of

Title.18, United States Code, Sections 922(g) (1) and 924.

                                      7

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                            ·COUNT'THIRTEEN

     On or about January 6, 2017, in the Eastern District of North

Carolina, the defendant, MARIO CORRELL.US BARGNEARE, also known· .as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841(a) (1).


                             COUNT FOURTEEN

     On or about January 13; 2017, in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 2i, United

States Code, Section 841 (a) (1).


                             COUNT FIFTEEN

     On or about January 27, 2017, in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mi~ture   and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).




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                                COUNT SIXTEEN

      On or about February 17,       2017,    in the Eastern District of

North Carolina,     the defendant,    MICHAEL QUALEEK VELASQUEZ,          also

·known as "Moo Moo," did knowingly and intentionally possess with

the intent to distribute a quantity of a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled

substance,     in violation of Title 21, .·United States Code, Section

841 (a) (1).


                               COUNT SEVENTEEN

      On or about February 23,       2017,    in the Eastern District of

North Carolina, the defendant, WILLIE FRANK JAMES AHERN, also known

as   "White,"    "White   Bread,"    and     "Dribs,"   did   knowingly    and

intentionally distribute a quantity of ·a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled

substance,     in 'violation of Title 21, United States Code, Section

841 (a) (1).


                               COUNT EIGHTEEN

      On or about Mar6h 1, 2017, in the Eastern District of North

Carolina, the defendant, DEREK JACQUAN WIGGINS, also known as "DJ,"

did knowingly and intentionally distribute a quantity of a mixture

and substance containing a.detectable amount of heroin, a Schedule

I controlled.substance,        in violation of Title 21, United States

Code, Section 841 (a) (1) ·.


                                      9

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                              COUNT NINETEEN

      On or about March 14, 2017, in the Eastern District of North

Carolina, the defendant, DEREK JACQUAN WIGGINS, also known as "DJ,"

did knowingly and intentionally distribute a quantity of a mixture

and substance containing a detectable amount of heroin, a Schedule

I   controlled substance,    in violation of Title 21,       Unite.d States

Code, Section 84l(a) (1).


                               COUNT TWENTY

      On or about April 7,     2017,    in the Eastern Distr.ict of North

Carolina, the defendant, DEREK JACQUAN WIGGINS, also known as "D.J,"

did knowingly and intentionally distribute a quantity of a mixture

and substance containing a detectable amount of heroin, a Schedule

I   controlled substance,    in violation of Title 21,       United States

Code, Section 841 (a) (1).


                             COUNT TWENTY-ONE

      On or about April 19, 2017, 1n the Eastern District of North

Carolina, the defendant, LAMAR HOSEA WIGGINS, also known as "LB,"

did knowingly and intentionally distribute a quantity of          ~   mixture

and substance containing a detectable amount of heroin, a Schedule

I   controlled substance,    in violation of Title 21,       United States

Code, Section 84l(a) (1).




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                             COUNT TWENTY-TWO

      On or about _April 24, 2017, in the Eastern District of North

· Carolina, the defendant, DEREK JACQUAN WIGGINS, .also known as "DJ,"

did knowingly and intentionally distribute a quantity of a mixture

and substance containing a detectable amount of heroin, a Schedule

I   controlled substance,    in violation of Title 21,       Uhited States

Code, Section 841 (a) (1).


                            COUNT TWENTY-THREE

      On or about May 19,      2017,   in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing ·a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) ( 1) .


                             COUNT TWENTY-FOUR

      On or about June 8,      2017,   in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and· substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).




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                            COUNT TWENTY-FIVE

     On or about June 15, 2017,        in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).


                             COUNT TWENTY-SIX

     On or about July 7,      2017,   in the Eastern District of North

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of· a

mixture and substance-containing a detectable amount of heroin,             a
Schedule   I   controlled   substance,     and   fentanyl,   a   Schedule· II

controlled substance, in violation of Title 21, United States Code,

Section 841 (a) (1).


                            COUNT TWENTY-SEVEN

     On or about July 28, 2017,        in the Eastern District of North

Carolina, the defendant,. MARIO CORRELLUS BARGNEARE, also known as

"Rio," did knowingly and intentionally distribute a quantity of a

mixture and substance containing a detectable amount of heroin, a

Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841 (a) (1).




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                            COUNT TWENTY-EIGHT

      On or about July 31, 2017, in the Eastern District of North

Carolina, the defendant, WILLIE FRANK JAMES AHERN, alsO known as

"White,"       "White   Bread,"       and     "Dribs., "   did   knowingly   and

intentionally distribute a quantity of a mixture and substance

containing a detectable amount of h.eroin, a Schedule I controlled

substance,     in violation of Title 21, United States Code, Section

s41 (a) (1).


                             COUNT TWENTY-NINE

      On or about August 2, 2017, in the Eastern District of North

Carolina, the defendant, WILLIE FRANK JAMES AHERN, also known as

"White, "      "White   Bread,"       and     "Dribs,"     did   knowingly   and

intentionally distribute a quantity of a mixture and substance

containing a detectable amount of heroin, a Schedule I controlled

substance, . in violation of Title 21, United States Code, Section

841 (a) (1).


                                  COUNT THIRTY

      On or about August 3, 20,17, in the Eastern District of North

Carolina, the defendant, WILLIE FRANK JAMES AHERN, also known as

"White," "White Bread," and "Dribs," aiding and abetting another

person known to the Grand Jury,              did knowingly and intentionally

distribute a      quantity of     a   mixture and substance containing a

detectable amount of heroin, a Schedule I              controlled substance, in


                                        13

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violation of Title 21, United States Code, Section 841(a) (1) and

Title 18, United States Code, Section 2.


                                 COUNT THIRTY-ONE

        On or about August 5, 2017, in the Eastern District of North

Carolina, the defendant, LAMAR HOSEA WIGGINS, also known as "LB,"

did     knowingly    anc;l   intentionally       possess    with     the   intent    to

. distribute a      quantity of    a   mixture and substance containing a

detectable amount of heroin,             a.Schedule I controlled substance,

and a quantity of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841 (a) (1).


                                 COUNT THIRTY-TWO

        On or about August 5, 2017, in the Eastern District of North

Carolina, the defendant, LAMAR HOSEA WIGGINS, also known as "LB,"

having been convicted of a crime punishable by imprisonment for a

 term   exceeding     one     (1) ·year,    did    knowingly       possess,    in   and

·affecting .commerce, a firearm,           in violation of Title 18, United

States Code, Sections 922 (g) (1) and 924.


                                COUNT THIRTY-THREE

        On or about August 5, 2017, in the Eastern District of North

Carolina,·the defendant, MARIO CORRELLUS BARGNEARE,                   a~so    known as
                                                                               \
 "Riq," knowingly possessed a firearm,              that at any time had been

 shipped and . transported ·in interstate commerce,                  from which the

manufacturer's        serial    number     had    been     removed,    altered      and

                                           14

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obliterated, in violation of Title 18,· United States Code, Sections

922 (k) and 924 (a) (1) (B) .


                                COuNT THIRTY-FOUR

     On or about August 16, 2017, in the Eastern District of North

Carolina, the. defendant, WILLIE FRANK JAMES AHERN, also known as

"White," "White Bread," and "Dribs," aiding and abetting another

.person known to the Grand Jury,            did knowingly and intentionally

distribute a      quantity of a      mixture and substance          containing a

detectable amount of heroin, a Schedule I controlled substance, in

violation of Title 21, United States Code, Section 84l(a) (1)                and

Title 18, United States Code, Section 2.


                                COUNT THIRTY-FIVE

     On or about September 9,. 2017,            in the Eastern District of

North Carolina, the defendants, CALVIN MARK WILSON, also known as

"Bali,"   MARIO    CORRELLUS      BARGNEARE,    also   known   as    "Rio," ·and

LASHAWNNA JAQUETTE MCCOTTER,         also known as "Flossy," aiding and

abetting each other, did knowingly and intentionally possess with

the intent to distribute a quantity of marijuana,                   a Schedule I

controlled substance, in violation of Title 21, United States Code,

Section 84l(a) (1) and Title 18, United States Code, Section 2.


                                COUNT THIRTY-SIX

     On or about October 24, 2017, in the Eastern District of North

Carolina, the defendant, CALVIN MARK WILSON, also known as "Bali,"

                                       15

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having been convicted of a crime punishable by imprisonment for a

 term         exceeding   one     (1)    year,       did     knowingly   possess,    ih   and

affecting commerce, ammunition,                      in violation of Title 18, United

States Code, Sections 922(g) (1) and 924.


                                    COUNT THIRTY-SEVEN

         On o:t about October 22, 2017, in ·t.he Eastern District of North
                                         .               )

Carolina, the defendant, MARIO CORRELLUS BARGNEARE, also known as

 "Rio,   11
              did knowingly use and carry a firearm during and in relation

to a drug trafficking crime for which he may be prosecuted in a

court of the United States, that is, Conspiracy to Distribute and

Possess with the           Intent        to Distribute Heroin and Marijuana as

alleged         in Count    One     of       this   Superseding     Indictment,     and did

. discharge said firearm, all in violation of Title 18~ United States

Code, Section 924 (c) (1) (A).


                                    COUNT _THIRTY-EIGHT

         On or about October 24, 2017, in the Eastern District of North

Carolina, the defendant, ROY JAMES NOLON, also -known as "Henny,"

did knowingly and intentionally possess a firearm in furtherance

of a drug trafficking crime for which he may be prosecuted in a

court of the United States, .that is, Conspiracy to Distribute and

 Possess with the          Intent        to Distribute Heroin and Marijuana                in

violation of Title 21, United States Code, Section 84l(a) (1) ,·as

alleged in Count One of                  this       Superseding Indictment,         which is


                                                    16

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incorporated herein by reference;           all in'violation of Title 18,

United-states Code, Section 924(c) (1) (A).




                    ALLEGATIONS OF PRIOR CONVICTIONS


      For purposes of Title 21, United States Code, Sections 84l(b)

and 851, CALVIN MARK WILSON, also known as "Bali," committed the

violations alleged in Counts One,           Two,   and    Thirty-~ive     after a

prior conviction for a felony drug offense,               as defined in Title

21, United States Code, Section 802(44), had become final.

      For purposes of Title 21, United States Code, Sections 841(br

and 851, WILLIE FRANK JAMES AHERN, also known as "Whit_e,"                 "Wh~te


Bread,"      "Dribs" committed the violations alleged in Counts One,

Three,    .Seventeen,   Twenty-Eight    through Thirty,          and Thirty-Four

after?- prior conviction for a'felony drug offense, as defined in

Title 21, United States Code, Section 802(44), had become final.

      For purposes of Title 21, United States Code, Sections 84l(b)

and 851, DEREK JACQUAN WIGGINS, also :known as "DJ," committed the
                                                                                    )
violations alleged in Counts One,           Eighteen through Twenty,          and

Twent'y-Two after a prior conviction for a felony drug offense, as

defined in Title        21,   United States Code,        Section .802 (44),   had

become final.

      For purposes of Title 21, United States Code, Sections 841(b)

and   851,    MICHAEL QUALEEK VELASQUEZ,       also      known    as   "Moo Moo,"

                                       17

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 committed the violations alleged in Counts One and Sixteen after

 a prior conviction for a felony drug offense, as defined in Title

 21, United States Code, Section 802(44), had become final.

      For purposes of Title 21, United States Code, Sections 841(b)

 and 851,   LAMAR HOSEA WIGGINS,    also known as "LB," committed the

. violations alleged in Counts One, Twenty-One, and Thirty-One after

 a prior conviction for a felony drug offense, as defined in Title

 21, United States Code, Section 802(44), had become final.




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                            FORFEITURE NOTICE

     The defendants are given notice of the provisions of Title

21, United States Code, Section 853, and Title 18, United States

Code, Section 924(d), .made applicable by Title 28, United States

Code, Section 2461(c), that all of their interest in all property

specified herein is subject to forfeiture.

     As a result of the offenses charged in Counts One through

Eleven, Thirteen through Thirty-One, Thirty-Four, and Thirty-Five

of the Indictment, the defendants, CALVIN MARK WILSON, also kriown

as "Bali," MARIO CORRELLUS BARGNEARE, also known as "Rio," WILLIE

FRANK JAMES    AHERN,   also   known    as    "White,"   "White    Bread,"   and

"Dribs,"    DEREK JACQUAN WIGGINS,          also known as   "DJ,   u   ROY JAMES

NOLON, also known as "Henny," MICHAEL QUALEEK VELASQUEZ, also know:n

as "Moo Moo," LAMAR HOSEA WIGGINS, also known as "LB," LASHAWNNA
                                                                               /-·'

JAQUETTE MCCOTTER   I   also known ·as       "Flossy,"   and LATREKA DENISE

HARDESTY,   also known as "T," shall forfeit to the United States

any ·and all property constituting, or derived from,               any proceeds

the defendants obtained directly or indirectly as a result of the

said offenses and any and all property used or intended to be used

in any manner or part to commit and to facilitate the commission

of the offense alleged, or any property traceable to such property.

The property includes, but is not limited to, the gross proceeds

of the offenses charged, and:




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                                                                           I
       1.     One        tract     of        land      with   all     appurtenances           and

              improvements             thereto,     legally described in Deed Book

              607, Pages 213-215 of the                 Pa~lico   County Registry, North

              Carolina,          and having the          street     address      of.· 383    Park

              Avenue,          Mesic,    North      Carolina,     28515,       titled   in    the

              names of Willie Ahern and Candice Credle;

       2.     A        black    2006     Maserati       Quattroporte       sedan    with      VIN

              ZAMCE39A760026580; and

       3.     $14,095 in US Currency seized on May 14, 2017.

       As a result of the offenses charged in Counts Twelve, Thirty-

Two,   Thirty-Three,             and Thirty-Six          through Thirty-Eight           of    the

Indictment, the defendants shall forfeit to the United States the

firearms and ammunition involved in the knowing commission of the

offenses, that is:
                  ..
       1.     A black Smith              &   Wesson model       Bodyguard       . 380   caliber

              pistol bearing serial number EAH4895;

       2.     A black Taurus Millennium G2 9mm handgun bearing serial

              number TFY66186; and

       3.     Various ammunition.

       If    any of       the·   above~described.         forfeitable      property,         as   a

result of any act or omission the defendants,

       (1) cannot be located upon the exercise of due diligence;

       (2)   has been transferred or sold to,                       or deposited with,            a

third person;

                                                  20

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     (3) has been placed beyond the jurisdiction of the court;

     (4) has been substantially diminished in value; or

     (5) has been commingled with other property which cannot be

subdivided without    difficulty;   it    is   the   intent of     the United

States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to

the value of the1 above forfeitable.property.



                                         A TRUE BILL:




                                         1'0,PERSON ~ ~
                                         DA~:        I 1.6~   1/
                                                      I   I
ROBERT J. HIGDON, JR.
United States Attorney



BY: LAURA S. HOWARD
Assistant United States Attorney
Criminal Division




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